                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


PERRY BAILEY                                     §      Docket No.
                                                 §
Versus                                           §
                                                 §      Judge
ASSURANT INSURANCE AGENCY                        §
                                                 §
                                                 §      Magistrate Judge
                                                 §


 ____________________________________________________________________________
                                      __

                               COMPLAINT FOR DAMAGES


         NOW COMES Perry Bailey, Plaintiff, who, through undersigned counsel, respectfully

represents that:

                                            PARTIES

   1. Made Plaintiff herein is Perry Bailey, (hereinafter sometimes referred to as “Plaintiff”),

person of the full age of majority and domiciled in the City of Violet, Saint Bernard Parish, State

of Louisiana.

   2. Made Defendant herein is Assurant Insurance Agency, (hereinafter sometimes referred to

as “Defendant”), incorporated under the laws of Minnesota, with a principal place of business at

2345 Rice Street, Suite 230, Roseville, MN 55113. Defendant is authorized to do business and

issue policies in the state of Louisiana. Defendant may be served with process through the

Louisiana Secretary of State, 8585 Archives Avenue, Baton Rouge, Louisiana 70809.




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                                  JURISDICTION AND VENUE

    3. Jurisdiction of this Court over this action is invoked pursuant to 28 U.S.C. § 2201 as well

as 28 U.S.C. §1332(a)(1), as there is complete diversity of citizenship between Plaintiff and

Defendant.

    4. The matter in controversy exceeds, exclusive of interest and costs, the sum of Seventy-

Five Thousand Dollars ($75,000).

    5. Venue is proper in this Judicial District under 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to Plaintiff’s claims occurred in this

judicial district, and/or a substantial part of property that is the subject of the action is situated

here.

    6. This Court has personal jurisdiction over Defendant because Defendant has continuous

and systematic business activities in Louisiana and this judicial district. Upon information and

belief, Defendant’s business activities include, among other things, executing contracts of

insurance with various Louisiana based entities and consumers.

    7. This Court has subject matter jurisdiction because an actual case or controversy exists

between the parties, as is evidenced by the facts and circumstances described herein. Plaintiff is,

therefore, entitled to bring this action in this Court.

                                   FACTUAL BACKGROUND

    8. Plaintiff contracted with Defendant to insure the property located at 2121 Allo

Mumphrey Drive, Violet, LA 70092 (hereinafter collectively referred to as the “insured

premise”).

    9. The insured premise is the location of Plaintiff’s personal residence.




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   10. The insured premise is covered under a policy issued by Defendant (hereinafter referred

to as “the policy”). Defendant assessed the risk and provided Replacement Cost Value coverage

following their evaluation of the property.

   11. Plaintiff paid all premiums associated with the policy when due in a timely manner and

without delay.

   12. Plaintiff entered into the contract of insurance with the reasonable expectation that in

return for the payment of the premium, Defendant would abide by the terms of their policy and

pay for any covered losses that may occur.

   13. On August 29, 2021, while the policy was in full force and effect, Hurricane Ida made

landfall over Southeast Louisiana.

   14. Hurricane Ida was a major category four hurricane.

   15. Hurricane Ida produced winds of 150 mph.

   16. As a result of Hurricane Ida, the insured premises sustained damages.

   17. Devastating winds and wind-driven rain lasted for several hours as the hurricane passed

over Southeast Louisiana.

   18. As a result of Hurricane Ida, the Plaintiff’s property suffered extensive damage. The

property sustained significant damage to its structure.

   19. Plaintiff provided timely and proper notice to Defendant of the claim.

   20. In compliance with the policy, Plaintiff began mitigating the loss as soon as possible.

   21. Plaintiff is entitled to recovery of all benefits due under the policy resulting from the

hurricane damage to the insured premises, including, but not limited to, the structural loss,

recoverable depreciation, additional living expenses and or loss of use expenses, and personal




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property.

    22. Insurers have the duty to initiate loss adjustment of a property damage claim within

fourteen (14) days after the notification of loss by a claimant, which may be extended by the

Insurance Commissioner in the aftermath of catastrophic damage. La. Stat. Ann.

§22:1892(A)(3).

    23. Defendant was given full access to inspect the insured premises. Defendant has had

ample opportunity to view the extensive damage to the property.

    24. Louisiana law provides claims handling timelines which are strictly construed.

    25. Under La. Stat. Ann. §22:1892(A)(1), insurers must pay the amount of any claim due to

any insured within thirty (30) days after receipt of satisfactory proof of loss from the insured or

any party in interest. Under La. Stat. Ann. §22:1892(A)(4), all insurers must make a written offer

to settle any property damage claim, within thirty (30) days after receipt of satisfactory proof of

loss of that claim.

    26. The arbitrary, capricious, or without probable cause failure to comply with La. Stat. Ann.

§22:1892(A)(1) and §22:1892(A)(4) subjects the insurer to a penalty, in addition to the amount

of loss, of fifty percent on the amount found to be due from the insurer to the insured or $1,000,

whichever is greater. If partial payment of tender is made, the penalty is fifty percent of the

difference between the amount paid or tendered and the amount due. These penalties are in

addition to reasonable attorney fees and costs. La. Stat. Ann. §22:1892(B)(1).

    27. Under La. Stat. Ann. §22:1973(A), insurers have an affirmative duty to adjust claims

fairly and promptly and to make reasonable efforts to settle claims with the insured. Failing to

pay the amount of any claim due to any person insured by the contract within sixty (60) days




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after satisfactory proof of loss from the claimant when such failure is arbitrary, capricious, or

without, probable cause is a breach of the insurer’s affirmative duty. La. Stat. Ann.

§22:1973(B)(5).

   28. In addition to any general or specific damages to which the insured is entitled to, a breach

of the 60-day timeline subjects the insurer to penalties in an amount not to exceed two (2) times

the damages sustained or $5,000, whichever is greater. La. Stat. Ann. §22:1973(C).

   29. An insurer has satisfactory proof of loss once it has sent an adjuster to inspect the

property, even if the adjuster provides an incomplete report, because the insurance company had

the opportunity to discover the extent of the damages. J.R.A. Inc. v. Essex Ins. Co., 2010-0797

(La. App. 4 Cir. 5/27/11), 72 So. 3d 862; see also Aghighi v. Louisiana Citizens Prop. Ins. Corp.,

2012-1096 (La. App. 4 Cir. 6/19/13), 119 So. 3d 930.

   30. The statutory timeline starts from the initial inspection and not from any final report by

the insurer. Aghighi v. Louisiana Citizens Prop. Ins. Corp., 2012-1096 (La. App. 4 Cir. 6/19/13),

119 So. 3d 930.

   31. In compliance with their duties, Plaintiff cooperated with Defendant and their

consultants, making the property fully and completely available for the viewing of the physical

loss evidence.

   32. Defendant and their consultants knew or should have known that undisputed amounts of

a claim must be disbursed and cannot be delayed because other portions of the claim have not

been decided. Aghighi v. Louisiana Citizens Prop. Ins. Corp., 2012-1096 (La. App. 4 Cir.

6/19/13), 119 So. 3d 930.

   33. Plaintiff had to retain undersigned counsel to handle communications with Defendant in




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an attempt to bring this claim to a conclusion.

    34. Defendant has failed to timely and reasonably adjust the loss and respond to the formal

proof.

    35. Despite Defendant’s failure to timely pay the evidenced loss, Plaintiff has continued to

work with Defendant and their consultants to ensure compliance with their duties under the

Policy. This cooperation in no way waives Defendant’s duties under the law.

    36. Plaintiff is entitled to a judgment declaring that the language of the Policy provided

coverage for all damage resulting from Hurricane Ida.

                                  BREACH OF CONTRACT

    37. Despite more than sufficient proof of loss, Defendant failed to timely and adequately

tender payment of insurance proceeds as required under the Policy.

    38. At all relevant times, Defendant provided insurance coverage for the matters, risks, and

damages involved herein. The Policy contained a hurricane and/or windstorm endorsement that

provided coverage for all of the damages sustained at the Property to which Plaintiff is entitled,

including but not limited to dwelling coverage, contents coverage, loss of use coverage,

recoverable depreciation, as well as all repair/replacement costs, and all other damages which

will be disclosed through discovery and proven at trial.

    39. Defendant’s failure to timely provide adequate payment for clearly covered losses is in

breach of and in violation of the Policy. Coverage under the Policy remains available and is due to

Plaintiff.

         STATUTORY DAMAGES, PENALTIES, ATTORNEY’S FEES, AND COSTS

    40. Defendant’s conduct and failure to timely pay insurance proceeds due under its Policy is




                                                                     Complaint for Damages - Page 6
in clear violation of La. R.S. 22:1892 and La. R.S. 22:1973. Plaintiff, therefore, seeks the

recovery of damages, attorney’s fees, penalties, and costs under these statutes.

   41. As a result of the actions of the Defendant, Plaintiff has suffered the following

nonexclusive list of damages past, present, and future in amounts reasonable in the premises:

           a. Repair and remediation expenses;

           b. Inability to make appropriate repairs due to inadequate insurance payments;

           c. Diminution in value of property;

           d. Actual damages related to the increased cost of repairs;

           e. Mental anguish;

           f. Attorney’s fees and penalties; and

           g. Costs of this litigation and any pre-litigation costs related to the insurer’s failure

               to make adequate insurance payments.

                                            JURY TRIAL

   42. Plaintiff prays for and is entitled to a trial by jury, with a bond to be set at a later date.


                                              PRAYER

     WHEREFORE, PREMISES CONSIDERED, Plaintiff, Perry Bailey, prays that the

 Defendant, Assurant Insurance Agency, be served with a copy of this Petition and be duly

 cited to appear and answer the same and that there be judgment rendered in favor of Plaintiff

 and against Defendant in an amount that will fully compensate Plaintiff for all damages; and for

 prejudgment interest from the date of Plaintiff’s filing of the lawsuit, for post-judgment interest

 on the judgment at the rate allowed by law, for all costs of these proceedings, for attorney’s




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fees, penalties, and costs, and for all further relief, both in law and in equity, to which

Plaintiff may show to be justly entitled.


                                                 Respectfully Submitted,

                                                 /s/ Mark Ladd_____________
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                                                 Chinwe Onyenekwu
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                                                 Ph. 713-228-3030
                                                 Fax 713-228-3003
                                                 Email: hurricane@galindolaw.com
                                                 ATTORNEYS FOR PLAINTIFF
PLEASE SERVE:
Assurant Insurance Agency
Through its agent for service:
Commissioner of Insurance
1702 North Third Street
Baton Rouge, LA 70802




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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA



                                                            CIVIL ACTION NO.:
 PERRY BAILEY
                                                            SECTION
 VERSUS                                                     JUDGE
 ASSURANT INSURANCE AGENCY                                  MAGISTRATE JUDGE




                                  CERTIFICATION LETTER

       Pursuant to Addendum to CMO No. 1 For Case Management of Lawsuits Filed by

Former Clients of McClenny Moseley & Associates, dated June 21, 2023, the undersigned filing

attorney and firm certifies this Plaintiff is a former client of MMA.

                                                      Respectfully Submitted,

                                                      /s/ Mark Ladd_____________
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